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~AO 2458      (Rev. 9/00) Judgment in a Criminal Case
              Sheet 1

                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA
              UNITED        STATES      OF AMERICA                        JUDGMENT IN A CRIMINAL CASE
                                   v.                                     (For Offenses Committed On or After November 1, 1987)

                            Krisinda    Jones                             Case Number:                        06CR0205-W

                                                                          Ricardo              M. Gonzalez
                                                                          Defendant's          Attorney
REGISTRA TION NO. 70468198
THE DEFENDANT:
X    pleaded guilty to count(s)          two of the indictment

     Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:
                                                                                                                                       Count
Title & Section                        Nature of Offense                                                                             Number(s)
18 use 1956(h), 1956(a)(I)(A)          Conspiracy   to launder money                                                                    2
(I) and 1956(a)(I)(8)(I),
18 USC 2




   The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant                    to the
Sentencing Reform Act of 1984.




X   Assessment:         $ 100.00 payable forthwith.
X   Fine ordered waived.

of name, IT IS ORDERED
          residence,       that the
                     or mailing     defendant
                                 address  until shall  notifyrestitution,
                                                all fines,      the Unitedcosts,
                                                                            Statesand
                                                                                    attorney
                                                                                       specIal for this district imposed
                                                                                                 assessments      within 30bydays
                                                                                                                              this of any change
                                                                                                                                   judgment   are

in
fully
   the paid.
        defendant's
              If ordered
                       economIc
                          to pay restitution,
                                  circumstances.
                                              the defendant    shall notify the court and United States attorney of any material change
                                                                                  L ••••••••
                                                                                               ?   '   ••••• "",


                                                                          Date of Imposition of Sent



                                                                          THOMAS J. WE
                                                                          UNITED STATES blS
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              Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page   2      of     i
DEFENDANT:                       Krisinda Jones
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                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
24 months.




D         The court makes the following recommendations to the Bureau of Prisons:




D         The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

                                                      D a.m.      D p.m.       on

          D      as notified by the United States Marshal.

D         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D      before 2 p.m. on

          D      as notified by the United States Marshal.

          D      as notified by the Probation or Pretrial Services Office.



                                                                     RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                           to


at _______________                                     , with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL

                                                                            By
                                                                                             DEPUTY UNITED STATES MARSHAL
AO 245B
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             Sheet 3 -   Supervised    Release


  DEFENDANT:                      Krisinda Jones
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  CASE NUMBER:                    06CR0205- W
                                                           SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.
                                                        MANDATORY CONDITIONS

       The defendant shall reR0rt to the probation office in the district to which the defendant is released within 72 hours of release from
  the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not illegally possess a controlled substance.
  For offellses committed        011   or after September 13, 1994:
        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter.
  o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse.

          The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

               Drug testing requirements will not exceed submission of more than eight drug tests per month during the term of supervision,
               unless ordered by the Court.
               The
               If thisdefendant
                       judgment shall cooperate
                                 imposes         as adirected
                                          a fine or             in the
                                                       restitution     collectionit of
                                                                    obligation,        a DNA
                                                                                    shall       sample, pursuant
                                                                                          be a condition          to 18 release
                                                                                                         of supervised  USC 3583(d)
                                                                                                                                that the defendant pay
          any such fine
          Schedule      or restitution
                   of Payments          that in
                                  set forth   remains   unpaid at the commencement
                                                this judgment.                          of the term of supervised release in accordance with the

       The defendant shall comply with the standard conditions that have been adopted by this court.              The defendant shall also comply
  with any special conditions imposed.

                                            STANDARD CONDITIONS OF SUPERVISION

  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)
          theadefendant
          of             shall granted
               felony, unless  not associate with any
                                       permission      persons
                                                   to do so by engaged  in criminal
                                                               the probation  officer;activity and shall not associate with any person convicted
 10)
          theany
          of  defendant  shall oDserved
                 contraband     permit a probation  officer
                                         In plain view       to probation
                                                        of the  visit him or  her at any time at home or elsewhere and shall permit confiscation
                                                                           officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant's compliance with such notification requirement.
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                                               SPECIAL CONDITIONS           OF SUPERVISION

          The defendant shall not possess firearms, explosive devices, or other dangerous weapons.

          The  defendantmanner,
          a reasonable   shall submit
                                 by thetoprobation
                                           search ofofficer
                                                     pt:rson,orproperty,
                                                                otner lawresidence, abode
                                                                          enforcement      or vehicle, at a reasonable time and in
                                                                                       officer.
          The defendant shall participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling,
          as directed by the probation officer. The defendant may be required to contribute to the costs of services rendered in an
          amount to be determined by the probation officer, baseCl on the defendant's ability to pay. Drug testing requirements will not
          exceed submission of more than eight drug tests per month during the term of supervIsion, unless by order of the Court.
          The defendant shall provide complete disclosure of personal and business financial records to the probation officer as
          requested.
